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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CITY OF SUNRISE GENERAL EMPLOYEES’ )
RETIREMENT PLAN, on behalf of itself and all )
others similarly situated,                   )
                                             )
      Plaintiff,                             )           Civil Action No.
                                             )           1:17-CV-02207-LMM
v.                                           )
                                             )           CLASS ACTION
FLEETCOR TECHNOLOGIES, INC.,                 )
RONALD F. CLARKE, and ERIC R. DEY,           )
                                             )
      Defendants.                            )
                                             )

                 JOINT CONSENT MOTION TO STAY
              CURRENT DEADLINES PENDING MEDIATION

      Defendants FleetCor Technologies, Inc., Ronald F. Clarke, and Eric R. Dey

(collectively, “Defendants”), and Lead Plaintiff City of Sunrise General Employees’

Retirement Plan (“Lead Plaintiff,” and collectively with Defendants, the “Parties”),

hereby submit this Joint Motion to Stay Current Deadlines Pending Mediation. In

support of this Motion, the Parties show as follows:

      1.     The Parties have conferred and agreed, in an effort to resolve this

dispute, to attend a private, non-binding, confidential mediation, which is scheduled

to occur on September 16, 2019, before a nationally-recognized mediator.
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      2.     The Parties further agree that judicial and party resources would best

be served if the deadlines set forth in the Agreed Scheduling Order (Dkt. No. 55) are

stayed pending the conclusion of the mediation.

      3.     Therefore, in order to conserve judicial and party resources, the Parties

hereby agree and stipulate as follows:

             a.    The Parties jointly request that the deadlines set forth in the

                   Agreed Scheduling Order (Dkt. No. 55) be stayed until

                   September 30, 2019, pending the outcome of the Parties’

                   scheduled mediation.

             b.    Should the case not resolve by September 30, 2019, the Parties

                   will submit a revised scheduling order on or before October 4,

                   2019.

             c.    Lead Plaintiff has provided Defendants with the identities of the

                   individuals whose depositions Lead Plaintiff expects to take and

                   Defendants have been working to schedule the depositions of

                   those deponents they control. The Parties will continue to work

                   cooperatively to schedule those depositions to be taken after

                   September 30, 2019 in order to avoid any unnecessary delay

                   should the case not resolve by September 30, 2019.


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      4.    The Parties respectfully request that the Court enter the Proposed Order

Staying Current Deadlines Pending Mediation attached hereto.

      Respectfully submitted this 30th day of July, 2019.

/s/ Katherine M. Sinderson                  /s/ Bethany M. Rezek
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                        RULE 7.1(D) CERTIFICATION

      The undersigned counsel certifies that this document has been prepared with

one of the font and point selections approved by the Court in Local Rule 5.1(C).

                                            /s/ Bethany M. Rezek
                                            Bethany M. Rezek
                                            Georgia Bar No. 553771
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this 30th day of July, 2019, I caused a true and correct

copy of the foregoing to be filed with the Clerk of Court using the CM/ECF system,

which will automatically send notification of such filing and make available the

same to all attorneys of record.

                                              /s/ Bethany M. Rezek
                                              Bethany M. Rezek
                                              Georgia Bar No. 553771
